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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

DAVID LEESON and LUCY LEESON, individually

and as Parents and Next-Friends of NIAMH LEESON,

a minor child and RUBY LEESON, a minor child,
Plaintiffs,

vs. No::

 

THE WRIGHT TRUCKING COMPANY,
INC., a foreign corporation, DW EXPEDITING,
INC., a foreign corporation,

and CHRISTOPHER PUERTO,

Defendants.

COMPLAINT FOR PERSONAL INJURY

COMES NOW Plaintiffs David Leeson and Lucy Leeson, individually and on behalf of

their minor children, Niamh Leeson and Ruby Leeson, (“Plaintiffs”) and files their Complaint

against The Wright Trucking Company, Inc., DW Expediting, Inc., and Christopher Puerto

(“Defendants”).

1. NATURE OF CASE

. This is a negligence and negligence per se cause of action to recover damages arising from
the automobile and tractor trailer crash on April 7, 2017 on Interstate 40 near mile marker
241 in Guadalupe County, New Mexico.

II. PARTIES, JURISDICTION AND VENUE

. David Leeson and Lucy Leeson are individuals domiciled in the United Kingdom.

. David Leeson and Lucy Leeson are also appearing as parents and next friends on behalf

of their minor children, Niamh Leeson and Ruby Leeson.

. Upon information and belief, at all times relevant to the Complaint, Defendant The
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Wright Trucking Company, Inc., was a Georgia corporation engaged in the business of
interstate trucking, doing business in and traveling over the highways of the State of New
Mexico.

5. At all times relevant to this case, The Wright Trucking Company, Inc., was a motor
carrier operating under the authority of the Federal Motor Carrier Safety Administration
with United States Department of Transportation.

6. Upon information and belief, at all times relevant to the Complaint, Defendant DW
Expediting, Inc. was a Georgia corporation engaged in the business of interstate trucking,
doing business in and traveling over the highways of the State of New Mexico.

7. At all times relevant to this case, DW Expediting, Inc., was a motor carrier operating
under the authority of the Federal Motor Carrier Safety Administration with United States
Department of Transportation.

8. Upon information and belief, at all times relevant to the Complaint, Defendant
Christopher Puerto was an individual domiciled in the State of Georgia, and was an
owner, agent, employee, operator, and/or servant of the corporate Defendants and was
acting within the course and scope of his employment or agency with them.

9. Venue is proper in Guadalupe County, New Mexico, pursuant to NMSA 1978 Sec 38-3-
1, because the collision at issue occurred there, and therefore Guadalupe County, New
Mexico is where the cause of action originated.

10. This Court has jurisdiction over the Plaintiffs’ claims pursuant to Article VI of the New
Mexico Constitution and the New Medical long-arm statute, NMSA 1978, § 38-1-16.

FACTS COMMON TO ALL COUNTS

11. During all times relevant to this case, The Wright Trucking Company, Inc., was the
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owner of, and motor carrier operating, the tractor-trailer assigned to Christopher Puerto.
Christopher Puerto operated the tractor-trailer under The Wright Trucking Company,
Inc.’s full direction and control.

12. The Wright Trucking Company, Inc., remained at all times responsible for safe operation
of the tractor-trailer and is responsible as a matter of law for Christopher Puerto’s conduct
in operating it under the doctrine of Respondeat Superior.

13. On April 7, 2017, Christopher Puerto was driving across New Mexico eastbound on
Interstate 450, acting within the course and scope of his employment, in a 2007
Freightliner tractor-trailer, white in color, bearing license plate number C589CF
(hereinafter the “tractor-trailer”).

14. Near mile marker 241 on eastbound Interstate 40, the tractor-trailer had a tire blow out
causing Christopher Puerto to lose control of his vehicle and collide with the front of the
2016 Nissan driven by David Leeson in the westbound lane, and containing Lucy Leeson,
Niamh Leeson and Ruby Leeson as passengers.

15. Asa result of the collection, Plaintiffs suffered serious bodily and emotional injuries.

16. As a direct and proximate result of the negligence and omissions of the Defendants,
David Leeson, Lucy Leeson, Niamh Leeson and Ruby Leeson have suffered damages
including, but not limited to their pain and suffering, past medical expenses, emotional
distress, future medical expenses, future pain and suffering and lost wages for David
Leeson and Lucy Leeson.

NEGLIGENCE AND NELIGENCE PER SE

OF ALL DEFENDANTS

17. Plaintiffs incorporate by reference the foregoing allegations.
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18. Christopher Puerto owed the Plaintiffs a duty of care to operate the Wright Trucking
Company tractor-trailer he was operating at the time of the crash in a safe manner and
in compliance with all safety rules, including statutes, regulations, and ordinances
governing the operating and maintenance of vehicles upon interstate and New Mexico
roadways.

19. Christopher Puerto breached his duty of care by, among other things:

a. Failing to keep a proper lookout, including by failing to see what was in
plain sight and obviously apparent to someone under like or similar
circumstances, and, with respect to that which was not in plain sight or
readily apparent, by failing to appreciate and realize what was reasonably
indicated by that which was in plain sight.

b. Failing to exercise due care in the operation and maintenance of the Wright
Trucking Company tractor-trailer he was operating;

c. Failing to operate the Wright Trucking Company tractor-trailer in a safe and
reasonable manner and under control in light of the circumstances;

d. Operating the Wright Trucking Company tractor-trailer in violation of
existing statutes, regulations, codes, ordinances and legal rules;

e. Operating the Wright Trucking Company tractor-trailer while inattentive to
status of his vehicle, to other vehicles and roadway conditions;

f. Failing to control his vehicle in reasonable and prudent manner, having due
regard for the speed of other vehicles and the traffic upon and condition of
the highway;

g. Driving carelessly, including through the failure to give his full time and
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23.

entire attention to the operating of the Wright Trucking Company tractor-
trailer, and operating the tractor-trailer in a careless, inattentive or
imprudent manner without due regard for the width, grade, curves, corners,
traffic, weather and road conditions and all other attendant circumstances;
h. Becoming distracted while driving;
i. Operating the Wright Trucking Company tractor-trailer while overly
fatigued;
j. Violating statutes, regulations, codes and ordinances; and
k. Otherwise acting without the reasonable care required of him under the
circumstances.
Christopher Puerto’s breach of these duties caused injuries to David Leeson, Lucy
Leeson, Niamh Leeson and Ruby Leeson.
Christopher Puerto’s breach of duty was a direct and proximate cause of the injures to
David Leeson, Lucy Leeson, Niamh Leeson and Ruby Leeson.
Christopher Puerto was the Wright Trucking Company’s statutory employee,
employee-in-fact, and agent at the time of the crash. Christopher Puerto was operating
the Wright Trucking Company’s tractor-trailer in the course and scope of his
employment with the corporation at the time of the crash, and the Wright Trucking
Company otherwise authorized, participated in, and ratified his conduct. The Wright
Trucking Company is liable for the damages caused by any and all of Christopher
Puerto’s wrongful acts and omissions related to the injuries to David Leeson, Lucy
Leeson, Niamh Leeson and Ruby Leeson.

The Wright Trucking Company additionally owed Plaintiffs a duty of care to, among
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other things:

a. Properly screen Christopher Puerto before hiring him and putting him on
the roadway operating the Wright Trucking Company’s tractor-trailer;

b. Properly train Christopher Puerto;

c. Properly monitor Christopher Puerto;

d. Properly supervise Christopher Puerto;

e. Properly maintain the vehicle provided to Christopher Puerto;

f. Comply with all federal and state statutes, regulations, codes, ordinances,
and legal rules; and

g. Otherwise act with the reasonable care required of it under the
circumstances.

24. The Wright Trucking Company breached its duties.

25. The Wright Trucking Company’s breach of duty was a direct and proximate cause of
the injuries to David Leeson, Lucy Leeson, Niamh Leeson and Ruby Leeson.

26. The Wright Trucking Company and Christopher Puerto’s acts and omissions in causing
the injuries to David Leeson, Lucy Leeson, Niamh Leeson and Ruby Leeson were
reckless, willful and wanton. These Defendants therefore should be held responsible
for punitive damages beyond the other damages set out herein.

WHEREFORE, the Plaintiffs pray for judgment against all Defendants for their damages,
including compensatory and punitive damages, pre-judgement and post-judgement interest at the
legal rate, for their costs, and for such other and further relief to which they may be entitled under
the facts and circumstances.

TRIAL BY JURY IS HEREBY DEMANDED
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